     Case: 1:22-cv-00125 Document #: 629-8 Filed: 02/23/24 Page 1 of 28 PageID #:13903



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEOGUERRA, MICHAEL MAERLENDER, BRANDON
 PIYEVSKY, BENJAMIN SHUMATE, BRITTANY
 TATIANA WEAVER, and CAMERON WILLIAMS,                              Case No. 1:22-cv-00125-MFK
 individually and on behalf of all others similarly situated,
                                                                    Judge Matthew F. Kennelly
                              Plaintiffs,

                              v.

 BROWN UNIVERSITY, CALIFORNIA INSTITUTE OF
 TECHNOLOGY, UNIVERSITY OF CHICAGO, THE
 TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY
 OF NEW YORK, CORNELL UNIVERSITY, TRUSTEES
 OF DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN UNIVERSITY,
 THE JOHNS HOPKINS UNIVERSITY,
 MASSACHUSETTS INSTITUTE OF TECHNOLOGY,
 NORTHWESTERN UNIVERSITY, UNIVERSITY OF
 NOTRE DAME DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM MARSH
 RICE UNIVERSITY, VANDERBILT UNIVERSITY, and
 YALE UNIVERSITY,

                               Defendants.


        DECLARATION OF STEVEN WEISBROT, ESQ. OF ANGEION GROUP LLC
           RE: AMENDING THE PROPOSED REVISED NOTICE PLAN FOR
                    THE THIRD TRANCHE SETTLEMENTS

I, Steven Weisbrot, Esq., declare under penalty of perjury as follows:

1.       I am the President and Chief Executive Officer at the class action notice and claims

administration firm Angeion Group, LLC (“Angeion”). Angeion specializes in designing, developing,

analyzing, and implementing large-scale legal notification plans.

2.       I have personal knowledge of the matters stated herein. In forming my opinions regarding
notice in this action, I have communicated with class counsel and reviewed relevant pleadings and
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other documents relating to the case, in addition to drawing from my extensive class action notice

experience.

3.       Background information on my professional experience and Angeion’s expertise with the

design and implementation of hundreds of court-approved notice and administration programs,

including some of the largest and most complex notice plans in recent history, is set forth in my prior

declaration submitted with the preliminary approval motion of the University of Chicago Settlement.

See Declaration of Steven Weisbrot, Esq. of Angeion Group LLC re the Proposed Notice Plan, ¶¶ 3-

10 & Exhibit A (ECF No. 428-7).

4.       On September 9, 2023, the Court preliminarily approved the Plaintiffs’ proposed class
settlement with defendant University of Chicago. See ECF No. 439 (“University of Chicago

Preliminary Approval Order”). As part of that preliminary approval, the Court appointed Angeion as

the Settlement Claims Administrator and it approved the proposed notice plan. See id. ¶¶ 8, 14-15.

5.       On January 23, 2024, Plaintiffs filed a Motion for Preliminary Approval of Settlements with

Brown University (“Brown”), The Trustees of Columbia University in the City of New York

(“Columbia”), Duke University (“Duke”), Emory University (“Emory”), and Yale University

(“Yale”) (these settling defendants collectively, the “Second Tranche Settling Universities” or

“Second Tranche Settling Defendants;” and these settlements, the “Second Tranche Settlements”). In

the accompanying declaration submitted with that motion, I described the Revised Notice Plan, which

combined the University of Chicago Settlement and Second Tranche Settlements into one notice plan
in order to maximize efficiency and avoid confusion for the Settlement Class. See Jan. 22, 2024

Weisbrot Decl., ECF No. 603-10. The Court preliminarily approved the Second Tranche Settlements

on February 14, 2024. See ECF No. 614.

6.       Plaintiffs subsequently reached settlements with Trustees of Dartmouth College

(“Dartmouth”), Northwestern University (“Northwestern”), William Marsh Rice University (“Rice”),

and Vanderbilt University (“Vanderbilt”) (these settling defendants collectively, the “Third Tranche

Settling Universities” or “Third Tranche Settling Defendants;” and these settlements, the “Third
Tranche Settlements”).


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7.       The Revised Notice Plan articulated in the January 22, 2024 Declaration will also be used with

the Third Tranche Settlements except the notices are amended (a) to include information relating to

the Third Tranche Settlements and (b) to show that the end date for the Class Period for the Settlement

Class definition is the date of preliminary approval of the Third Tranche Settlements. These revisions

are reflected in the amended summary and long-form notices attached hereto as Exs. A & B,

respectively. The notices are otherwise identical to those attached to the January 22, 2024 Declaration.

Compare Ex. A to Jan. 22, 2024 Weisbrot Decl. (Revised Summary Notice), ECF No. 603-11 and Ex.

B to Jan. 22, 2024 Weisbrot Decl. (Revised Long Form Notice), ECF No 603-12 with Ex. A (Amended

Summary Notice) and Ex. B (Amended Long-Form Notice).
8.       Combining the University of Chicago and Second and Third Tranche Settlements into one

notice and using the same Settlement Class definition for all Settlements reduces Settlement Class

Member confusion and promotes efficiency by avoiding needing to send multiple notices to the same

Settlement Class Members.

9.       It remains my professional opinion that the Revised Notice Plan will provide full and proper

notice to Settlement Class Members before the claims, opt-out, and objection deadlines. Moreover, it

is my opinion that the Revised Notice Plan is the best notice that is practicable under the circumstances

and fully comports with due process, and Fed. R. Civ. P. 23. After the Revised Notice Plan has been

executed, Angeion will provide a final report verifying its effective implementation to this Court.


         I hereby declare under penalty of perjury that the foregoing is true and correct.

Dated: February 20, 2024
                                                                      ____________________
                                                                      STEVEN WEISBROT




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                       Exhibit A
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To:      Settlement Class Member Email Address
From: Claims Administrator
Subject: Notice of Proposed Class Action Settlement – Henry, et al. v. Brown University, et al.


Notice ID: <<Notice ID>>
Confirmation Code: <<Confirmation Code>>

                            Notice of Class Action Settlement
         Authorized by the U.S. District Court for the Northern District of Illinois

 Settlements of $284 million will provide payments to students who received
  need-based financial aid that covered some but not all costs (tuition, fees,
      room & board) to attend Brown University, California Institute of
Technology, University of Chicago, Columbia University, Cornell University,
    Dartmouth College, Duke University, Emory University, Georgetown
University, Johns Hopkins University, Massachusetts Institute of Technology,
      Northwestern University, University of Notre Dame, University of
Pennsylvania, Rice University, Vanderbilt University, or Yale University (the
                      “Universities” or “Defendants”).
             A federal court directed this Notice. This is not a solicitation from a lawyer.

                                  This Notice is only a summary.
            Please visit www.FinancialAidAntitrustSettlement.com for more information.

  x   The Court has preliminarily approved proposed settlements (“Settlements”) with the following ten
      schools: Brown University, the University of Chicago, the Trustees of Columbia University in the
      City of New York, Trustees of Dartmouth College, Duke University, Emory University,
      Northwestern University, William Marsh Rice University, Vanderbilt University, and Yale
      University (collectively the “Settling Universities”).

  x   The Court has also preliminarily approved a class of students who attended one or more of the
      Settling Universities during certain time periods. This is referred to as the “Settlement Class,”
      which is defined in more detail below.

  x   As part of the Settlements, the Settling Universities have agreed to make settlement payments
      totaling $284 million and to complete certain discovery in this antitrust class action lawsuit, called
      Henry, et al. v. Brown University, et al., 1:22-cv-00125, which is pending in the United States
      District Court for the Northern District of Illinois (the “Action”).

  x   This Action was brought by certain students (“Plaintiffs”) who attended certain of the Universities
      while receiving partial need-based financial aid. The Action alleges that the Defendants violated
      federal antitrust laws by agreeing regarding principles, formulas, and methods of determining
      financial aid. The Action also alleges that as a result, the Defendants provided less need-based
      financial aid than they would have provided had there been full and fair competition. The
      Defendants assert that Plaintiffs’ claims lack merit; that no such agreement existed, that the
                                                    1
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          Defendants’ financial aid policies were legal and pro-competitive, and that financial aid awards
          were not artificially reduced.
Why am I receiving this notice?
The Court authorized this Notice because you are entitled to know about your rights under the proposed
class action settlements with the Settling Universities before the Court decides whether to approve the
Settlements.
The Settlement Class consists of: All U.S. citizens or permanent residents who have during the Class Period
(a) enrolled in one or more of Defendants’ full-time undergraduate programs, and (b) received at least some
need-based financial aid from one or more Defendants, and (c) whose tuition, fees, room, or board to attend
one or more of Defendants’ full-time undergraduate programs was not fully covered by the combination of
any types of financial aid or merit aid (not including loans) in any undergraduate year.7 The Class Period is
defined as follows:

          ż       For Chicago, Columbia, Cornell, Duke, Georgetown, MIT, Northwestern, Notre Dame,
                  Penn, Rice, Vanderbilt, Yale—from Fall Term 2003 through the date the Court enters an
                  order preliminarily approving the Settlement.

          ż       For Brown, Dartmouth, Emory—from Fall Term 2004 through the date the Court enters
                  an order preliminarily approving the Settlement.

          ż       For CalTech—from Fall Term 2019 through the date the Court enters an order
                  preliminarily approving the Settlement.

          ż       For Johns Hopkins—from Fall Term 2021 through the date the Court enters an order
                  preliminarily approving the Settlement.

What do these Settlements provide?

Brown University, the University of Chicago, the Trustees of Columbia University in the City of New York,
Trustees of Dartmouth College, Duke University, Emory University, Northwestern University, William
Marsh Rice University, Vanderbilt University, and Yale University have agreed, collectively, to provide
$284 million in cash for the benefit of the Settlement Class as part of a Settlement Fund if the Court finally
approves the Settlements.

Every member of the Settlement Class who (a) does not exclude him, her, or themselves from the Settlement
Class by the deadline described below, and (b) files a valid and timely claim during a process that will occur
later will be paid from the monies from the Settlement Fund. The money in this Settlement Fund will be
also used to pay the following, as approved by the Court:

x     The cost of settlement administration and notice, and applicable taxes on the Settlement Fund, and any
      other related tax expenses;

x     Money awards for the Settlement Class Representatives for their service on behalf of the Settlement
      Class; and

7
  For avoidance of doubt, the Class does not include those for whom the total cost of attendance,
including tuition, fees, room, and board for each undergraduate academic year, was covered by any form
of financial aid or merit aid (not including loans) from one or more Defendants.
                                                      2
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x   Attorneys’ fees and reimbursement of expenses for Settlement Class Counsel.

Payments for claims will vary depending on a number of factors as set forth below. Assuming that about
half of the estimated 200,000 Class members submit timely claims, and that the Court awards the attorneys’
fees and costs as requested, the average claimant will receive about $2,000 from these Settlements. Because
the Plaintiffs allege an antitrust conspiracy, the amount of money any member of the Settlement Class
receives is not directly related to the amount of money that the institution that person attended paid to settle.

The parties have agreed to ask the Court to allow them to donate any funds that remain in the Settlement
Fund after distribution to the Settlement Class to charitable causes that promote access to higher education
for disadvantaged students and families.

How do I ask for money from these Settlements?

If you are a member of the Settlement Class, you must submit a valid and timely claim to get money from
the Settlement Fund during a process that will begin several months from now. If the Court finally approves
the Settlements, as part of the Court approved distribution and allocation process, the Claims Administrator
will distribute to all Settlement Class members, who do not exclude themselves from the Settlement Class,
and for which there are valid addresses, a Claim Form to complete. Members of the Settlement Class may
also contact the Claims Administrator or visit the Settlement Website if they do not receive a Claim Form.
The Claim Form will include the deadline for timely submission and instructions on how to submit or
approve the Claim Form.

Visit www.FinancialAidAntitrustSettlement.com for more information on how to submit a Claim Form.

What are My Other Options?

If you Do Nothing, you will be legally bound by the terms of the Settlements, and you will release your
claims against the Releasees. You may Opt-Out of or Object to the Settlement by Month, Day, Year.
Please visit www.FinancialAidAntitrustSettlement.com for more information on how to Opt-Out of or
Object to the Settlements.

Do I have a Lawyer in this Case?
Yes. The Court appointed the following law firms to represent you and other Settlement Class Members:
Freedman Norman Friedland LLP, Gilbert Litigators & Counselors, PC, and Berger Montague PC. These
firms are called Settlement Class Counsel. They will be paid from the Settlement Fund upon making an
application to the Court.

The Court’s Fairness Hearing.

There will be a Fairness Hearing held telephonically on [DATE] using call-in number 888-684-8852, access
code 746-1053

At the Fairness Hearing, the Court will consider whether the Settlements are fair, adequate, and reasonable
and should be approved. The Court will also decide whether it should give its final approval of the proposed
Plan of Allocation, and to Plaintiffs’ requests for attorneys’ fees and expenses, service awards to the
Settlement Class Representatives, and other costs. The Court will consider any objections and listen to
members of the Settlement Class who have asked to speak at the Fairness Hearing.

                                       This notice is only a summary.
                                                       3
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 For more information, visit www.FinancialAidAntitrustSettlement.com or call toll-free 1-XXX-
                                        XXX-XXXX

                                       Unsubscribe




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                       Exhibit B
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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN SHUMATE,
BRITTANY TATIANA WEAVER, and
CAMERON WILLIAMS, individually and on
behalf of all others similarly situated,

                           Plaintiffs,

                      v.

BROWN UNIVERSITY, CALIFORNIA                   Case No.: 1:22-cv-00125
INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                               Hon. Matthew F. Kennelly
OF CHICAGO, THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA, WILLIAM
MARSH RICE UNIVERSITY, VANDERBILT
UNIVERSITY, and YALE UNIVERSITY,

                           Defendants.


                    Notice of Class Action Settlements
  Authorized by the U.S. District Court for the Northern District of Illinois

  Settlements totaling $284 million from ten out of the seventeen
   defendants in the case will provide payments to students who
 received need-based financial aid to cover some but not all costs
  (tuition, fees, room, and/or board) to attend Brown University,
California Institute of Technology, University of Chicago, Columbia



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     University, Cornell University, Dartmouth College, Duke
   University, Emory University, Georgetown University, Johns
   Hopkins University, Massachusetts Institute of Technology,
 Northwestern University, University of Notre Dame, University of
    Pennsylvania, William Marsh Rice University, Vanderbilt
                  University, or Yale University.
          A federal court directed this Notice. This is not a solicitation from a lawyer.
   x   The Court has preliminarily approved proposed settlements (“Settlements”) with the
       following ten defendant schools: Brown University (“Brown”), University of Chicago
       (“Chicago”), the Trustees of Columbia University in the City of New York (“Columbia”),
       Trustees of Dartmouth College (“Dartmouth”), Duke University (“Duke”), Emory
       University (“Emory”), Northwestern University (“Northwestern”), William Marsh Rice
       University (“Rice”), Vanderbilt University (“Vanderbilt”) and Yale University (“Yale”).
   x   The Court has also preliminarily approved a Settlement Class of students who attended
       the following seventeen schools (during certain time periods): Brown, California Institute
       of Technology, Chicago, Columbia, Cornell University, Dartmouth, Duke, Emory,
       Georgetown University, Johns Hopkins University, Massachusetts Institute of
       Technology, Northwestern University, University of Notre Dame, University of
       Pennsylvania, Rice, Vanderbilt, and Yale (the “Defendants,” or “Universities,” or
       “Defendant Universities”).
   x   Persons who are members of the Settlement Class may participate in the Settlements as
       explained in more detail in this notice.
   x   As part of the Settlements:
          o Chicago has agreed to make a settlement payment of $13.5 million.
          o Emory has agreed to make a settlement payment of $18.5 million.
          o Yale has agreed to make a settlement payment of $18.5 million.
          o Brown has agreed to make a settlement payment of $19.5 million.
          o Columbia has agreed to make a settlement payment of $24 million.
          o Duke has agreed to make a settlement payment of $24 million.
          o Dartmouth has agreed to make a settlement payment of $33.75 million.
          o Rice has agreed to make a settlement payment of $33.75 million.
          o Northwestern has agreed to make a settlement payment of $43.5 million.
          o Vanderbilt has agreed to make a settlement payment of $55 million.




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    x    In addition, as part of the Settlements, Brown, Chicago, Columbia, Dartmouth, Duke,
         Emory, Northwestern, Rice, Vanderbilt, and Yale have each agreed to complete certain
         discovery in this antitrust class action lawsuit, called Henry, et al. v. Brown University, et
         al., Case No. 1:22-cv-00125, which is pending in the United States District Court for the
         Northern District of Illinois (the “Action”).
    x    This Action was brought by certain students who attended the Universities while
         receiving partial need-based financial aid. The Action alleges that the Universities
         conspired in violation of the federal antitrust laws regarding principles, formulas, and
         methods of determining financial aid. The Action also alleges that as a result, the
         Universities provided less financial aid than they would have provided had there been full
         and fair competition. The Universities have alleged that Plaintiffs’ claims lack merit; that
         the Universities’ financial aid policies were legal and pro-competitive, and financial aid
         awards were not artificially reduced; that the Universities have valid defenses to
         Plaintiffs’ allegations; and that Plaintiffs’ claims would have been rejected prior to trial,
         at trial, or on appeal.
    x    The Settlements are for the benefit of the “Settlement Class,” which is composed of the
         following persons:
                  all U.S. citizens or permanent residents who have during the Class Period
                  (a) enrolled in one or more of Defendants’ full-time undergraduate programs,
                  (b) received at least some need-based financial aid from one or more Defendants,
                  and (c) whose tuition, fees, room, or board to attend one or more of Defendants’
                  full-time undergraduate programs was not fully covered by the combination of
                  any types of financial aid or merit aid (not including loans) in any undergraduate
                  year.3 The Class Period is defined as follows:

                           a.       For Chicago, Columbia, Cornell, Duke, Georgetown, MIT,
                                    Northwestern, Notre Dame, Penn, Rice, Vanderbilt, Yale—from
                                    Fall Term 2003 through the date the Court enters an order
                                    preliminarily approving the Settlement.

                           b.       For Brown, Dartmouth, Emory—from Fall Term 2004 through the
                                    date the Court enters an order preliminarily approving the
                                    Settlement.

                           c.       For CalTech—from Fall Term 2019 through the date the Court
                                    enters an order preliminarily approving the Settlement.

                           d.       For Johns Hopkins—from Fall Term 2021 through the date the
                                    Court enters an order preliminarily approving the Settlement.



3
  For avoidance of doubt, the Class does not include those for whom the total cost of attendance, including tuition,
fees, room, and board for each undergraduate academic year, was covered by any form of financial aid or merit aid
(not including loans) from one or more Defendants.




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                Excluded from the Class are:

                        a.       Any Officers4 and/or Trustees of Defendants, or any current or
                                 former employees holding any of the following positions: Assistant
                                 or Associate Vice Presidents or Vice Provosts, Executive
                                 Directors, or Directors of Defendants’ Financial Aid and
                                 Admissions offices, or any Deans or Vice Deans, or any employees
                                 in Defendants’ in-house legal offices; and

                         b.      the Judge presiding over this action, his or her law clerks, spouse,
                                 and any person within the third degree of relationship living in the
                                 Judge’s household and the spouse of such a person.

        For purposes of the end date of the class definition in the Chicago Settlement, the date of
        this Order shall be considered the date of preliminary approval of the Chicago Settlement
        and the Chicago class definition shall otherwise be conformed to match the class
        definition for the more recent Settlements.
        The Court approved the following lawyers for the Settlement Class (referred to as
        “Settlement Class Counsel”):
        Edward J. Normand
        FREEDMAN NORMAND FRIEDLAND LLP
        99 Park Avenue
        Suite 1910
        New York, NY 10016
        Tel: 646-970-7513
        tnormand@fnf.law

        Robert D. Gilbert
        GILBERT LITIGATORS & COUNSELORS, P.C.
        11 Broadway, Suite 615
        New York, NY 10004
        Phone: (646) 448-5269
        rgilbert@gilbertlitigators.com

        Eric L. Cramer
        BERGER MONTAGUE PC
        1818 Market Street, Suite 3600
        Philadelphia, PA 19106
        Telephone: (215) 875-3000
        ecramer@bm.net




4
 For the avoidance of doubt, the Columbia University “Officers” excluded from the Class are members of the
Senior Administration of Columbia University, and do not include exempt employees of Columbia University who
are referred to as officers.




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   x   The Settlements offer cash payments to members of the Settlement Class who submit
       valid and timely claim forms later in the process. Payments for claims will vary
       depending on a number of factors as set forth below. Assuming that about half of the
       estimated 200,000 Class members submit timely claims, and that the Court awards the
       attorneys’ fees and costs as requested, the average claimant will receive about $2,000
       from these Settlements. Because the Plaintiffs allege an antitrust conspiracy where
       Plaintiffs allege that Defendants would be joint and severally liable, the amount of money
       any member of the Settlement Class receives is not directly related to the amount of
       money that the institution that person attended paid in settlement. The parties have agreed
       to ask the Court that any funds remaining after an initial distribution to the Settlement
       Class that are unable to be efficiently distributed to the Settlement Class be given, with
       the Court’s approval, to charitable causes that promote access to higher education for
       disadvantaged students and families.

   x   This Notice has important information. It explains the Settlements and the rights and
       options of members of the Settlement Class in this class action lawsuit.
   x   For the full terms of the Settlements, you should look at the Settlement Agreements
       between Plaintiffs and Brown, Chicago, Columbia, Dartmouth, Duke, Emory,
       Northwestern, Rice, Vanderbilt, and Yale that are available at
       www.FinancialAidAntitrustSettlement.com.
   x   Please check www.FinancialAidAntitrustSettlement.com for any updates relating to any
       of the Settlements or the settlement approval process.




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                               LEGAL RIGHTS and OPTIONS
If you are a member of the Settlement Class, your legal rights and options are described in
this section. You may:
Exclude Yourself: You may request to be excluded from the Settlement Class. This is the only
way you can preserve any right you have to be part of another potential lawsuit that you or others
might bring in the future seeking money for claims arising out of the facts alleged in this Action.
If you timely request exclusion (also referred to as “opt out”), you will no longer be part of the
Settlement Class, and you will not be able to get any money from the Settlements. If you would
like to opt out, you must mail your exclusion request by [DATE]. See Question 12 for more
information on requesting an exclusion.
Object: If you do not agree with any part of the Settlements, or you do not agree with the
requested award of attorneys’ fees, expenses, and/or service awards for the representative
Plaintiffs you may:
Ɣ      Write to the Court to explain why (see Question 16 for more information on filing an
       objection), and
Ɣ      Ask to speak at the Court hearing about either the fairness of the Settlements or about the
       requested attorneys’ fees, expenses, or service awards. (See Question 22).
Do Nothing: To remain in the Settlement Class, you need do nothing now. However, at a later
time, if the Settlements are approved, in order to receive money from the lawsuit, you will need
to file a claim form. See Question 23 for more information.
File a Claim: This is the only way to get money from the Settlements. You must file a timely
and valid claim at a later point in the process. See Question 9 for more information.
Deadlines: See Questions 12 and 16 for more information about rights and options and all
deadlines.




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                                    BASIC INFORMATION
1.     Purpose of this Notice?
This notice explains the proposed Settlements in a class action lawsuit called Henry, et al. v.
Brown University, et al., Case No. 1:22-cv-00125, and the legal rights and options of the
members of the Settlement Class to participate in the Settlements, or not, before the Court
decides whether to give final approval to the Settlements. This notice explains the Action, the
proposed Settlements, your legal rights, the benefits available, eligibility for those benefits, and
how to get them. The Honorable Matthew F. Kennelly in the United States District Court for the
Northern District of Illinois is overseeing this Action.
The persons or entities who started this case are called the “Plaintiffs.” The Plaintiffs are Andrew
Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender, Brandon Piyevsky, Benjamin
Shumate, Brittany Tatiana Weaver, and Cameron Williams.
The Court has provisionaly certified the Settlement Class. The Court has also approved Andrew
Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender, Brandon Piyevsky, Benjamin
Shumate, Brittany Tatiana Weaver, and Cameron Williams to act as Settlement Class
Representatives on behalf of the Settlement Class for purposes of the Settlements only.
The universities Plaintiffs sued in this Action are the “Defendants.” Defendants are Brown
University, California Institute of Technology, University of Chicago, Trustees of Columbia
University in the City of New York, Cornell University, Trustees of Dartmouth College, Duke
University, Emory University, Georgetown University, Johns Hopkins University, Massachusetts
Institute of Technology, Northwestern University, University of Notre Dame du Lac, Trustees of
the University of Pennsylvania, William Marsh Rice University, Vanderbilt University, and Yale
University. Although these settlements resolve claims against only ten of these seventeen
Defendants, Settlement Class members who attended any of the seventeen Defendants may
be eligible to file a claim.
2.       What is this lawsuit about?
Generally, Plaintiffs allege that Defendants engaged in an anticompetitive conspiracy in violation
of the Sherman Antitrust Act, 15 U.S.C. § 1. Specifically, Plaintiffs allege that Defendants
conspired to fix or otherwise limit the amount of financial aid students received, and thereby to
artificially inflate the net prices that Settlement Class members paid to attend the Universities
during certain time periods. Plaintiffs allege that Defendants conspired through an organization
called the 568 Presidents Group, of which all of the Defendants were members during some or
all of the time period. Members of the 568 Presidents Group allegedly shared sensitive
information regarding financial aid and financial aid principles and allegedly agreed to create
and implement common principles used in calculating students’ “financial need” that, Plaintiffs
say, all schools participating in the alleged conspiracy agreed to adopt. Absent participation in
this alleged conspiracy, Plaintiffs allege that Defendants would have competed with each other to
award more financial aid. Plaintiffs allege that Defendants’ participation in the alleged
conspiracy artificially reduced the amount of financial aid Settlement Class member students
received.




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Defendants deny each and every one of Plaintiffs’ allegations of unlawful or wrongful conduct
by the Universities, deny that any conduct of the Universities challenged by Plaintiffs caused any
damage whatsoever, and deny all liability of any kind. Defendants have asserted that they had no
agreement with other Universities regarding their financial aid policies, that each University’s
financial aid policy was lawful and designed to promote socio-economic diversity at its
institution by enhancing financial awards, that the Universities have valid defenses to Plaintiffs’
allegations, and that Plaintiffs’ claims would have been rejected prior to trial, at trial, or on
appeal.
You may obtain more information regarding the specific allegations of the Action by reviewing
the Second Amended Complaint, which is available at
www.FinancialAidAntitrustSettlement.com.
3.      Why is this lawsuit a class action?
In a class action, people or businesses sue not only for themselves but also on behalf of other
people or businesses with similar legal claims and interests. Together all people or businesses
with similar claims and interests form a specifically defined class and are class members. For
purposes of these Settlements, the Court has certified the Settlement Class (discussed above and
further in Question 5). This means that if the Court approves these Settlements, they are
applicable to all members of the Settlement Class (except those who follow the appropriate
process to exclude themselves).
4.      Why is there a settlement?
        Plaintiffs and Settlement Class Counsel believe that the members of the Settlement Class
have been damaged by Defendants’ conduct, as described in the Action (including the Complaint
and any amendments). Defendants believe that Plaintiffs’ claims lack merit and would have been
rejected prior to trial, at trial, or on appeal. The Court has not decided which side was right or
wrong or if any laws were violated. Instead, Plaintiffs and Brown University, the University of
Chicago, the Trustees of Columbia University in the City of New York, Trustees of Dartmouth
College, Duke University, Emory University, Northwestern University, William Marsh Rice
University, Vanderbilt University, and Yale University agreed to settle the case and avoid the
delays, costs, and the risk of trial, and the appeals that would follow a trial.
These Settlements are the product of extensive arm’s length negotiations, between experienced
counsel. Settling this case allows members of the Settlement Class to receive cash payments (see
Question 6 below). In addition, under the Settlements, Brown University, the University of
Chicago, the Trustees of Columbia University in the City of New York, Trustees of Dartmouth
College, Duke University, Emory University, Northwestern University, William Marsh Rice
University, Vanderbilt University, and Yale University have agreed to complete certain
discovery as detailed in the Settlement Agreements.
Plaintiffs, Brown University, the University of Chicago, the Trustees of Columbia University in
the City of New York, Trustees of Dartmouth College, Duke University, Emory University,
Northwestern University, William Marsh Rice University, Vanderbilt University, and Yale
University have agreed to settle this case after two years of extensive litigation and discovery. As




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part of discovery, Plaintiffs have reviewed and analyzed tens of thousands of pages of documents
turned over by the Defendants in the litigation.
The Settlements allow members of the Settlement Class who submit valid and timely claims to
receive some compensation, rather than risk ultimately receiving nothing. Plaintiffs and
Settlement Class Counsel believe the Settlements are in the best interests of all members of the
Settlement Class.
If the Settlements are approved, Plaintiffs and the Settlement Class will dismiss and release their
claims against Brown University, the University of Chicago, the Trustees of Columbia
University in the City of New York, Trustees of Dartmouth College, Duke University, Emory
University, Northwestern University, William Marsh Rice University, Vanderbilt University, and
Yale University.
5.      Am I part of this Settlement?
In the Court’s Preliminary Approval Order of [DD, MM, 2024], the Court defined the Settlement
Class as follows:
                 all U.S. citizens or permanent residents who have during the Class Period (a)
                 enrolled in one or more of Defendants’ full-time undergraduate programs,
                 (b) received at least some need-based financial aid from one or more Defendants,
                 and (c) whose tuition, fees, room, or board to attend one or more of Defendants’
                 full-time undergraduate programs was not fully covered by the combination of
                 any types of financial aid or merit aid (not including loans) in any undergraduate
                 year.5 The Class Period is defined as follows:

                          a.       For Chicago, Columbia, Cornell, Duke, Georgetown, MIT,
                                   Northwestern, Notre Dame, Penn, Rice, Vanderbilt, Yale—from
                                   Fall Term 2003 through [DATE] [the date the Court enters an
                                   order preliminarily approving the Settlement].

                          b.       For Brown, Dartmouth, Emory—from Fall Term 2004 through
                                   [DATE] [the date the Court enters an order preliminarily
                                   approving the Settlement].

                          c.       For CalTech— Fall Term 2019 through [DATE] [the date the
                                   Court enters an order preliminarily approving the Settlement].

                          d.       For Johns Hopkins— Fall Term 2021 through [DATE] [the date
                                   the Court enters an order preliminarily approving the Settlement.]

                 Excluded from the Class are:




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  For the avoidance of doubt, the Class does not include those for whom the total cost of attendance, including
tuition, fees, room, and board for each undergraduate academic year, was covered by any form of financial aid or
merit aid (not including loans) from one or more Defendants.




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                         a.      Any Officers6 and/or Trustees of Defendants, or any current or
                                 former employees holding any of the following positions: Assistant
                                 or Associate Vice Presidents or Vice Provosts, Executive
                                 Directors, or Directors of Defendants’ Financial Aid and
                                 Admissions offices, or any Deans or Vice Deans, or any employees
                                 in Defendants’ in-house legal offices; and

                         b.      the Judge presiding over this action, his or her law clerks, spouse,
                                 and any person within the third degree of relationship living in the
                                 Judge’s household and the spouse of such a person.

If you are not sure whether you are part of the Settlement Class, contact the Claims
Administrator at:
Call the toll-free number, 1-833-585-3338.
Visit: www.FinancialAidAntitrustSettlement.com
Write to: Financial Aid Antitrust Settlements, c/o Claims Administrator, 1650 Arch Street, Suite
2210, Philadelphia, PA 19103
Email: Info@FinancialAidAntitrustSettlement.com
Please contact the Claims Administrator with any questions instead of directing questions about
the Settlements to your undergraduate institutution or to the attorneys representing your
undergraduate institution in this lawsuit.
                                     SETTLEMENT BENEFITS
6.      What do these Settlements provide?
Brown University, the University of Chicago, the Trustees of Columbia University in the City of
New York, Trustees of Dartmouth College, Duke University, Emory University, Northwestern
University, William Marsh Rice University, Vanderbilt University, and Yale University have
agreed to provide, collectively, $284 million in cash for the benefit of the Settlement Class as
part of a Settlement Fund.
Every member of the Settlement Class who (a) does not exclude him, her, or themselves from the
Settlement Class by the deadline described below, and (b) files a valid and timely claim during a
process that will occur later will be paid from the monies from the Settlement Fund. The money
in this Settlement Fund will be also used to pay:
         x     The cost of settlement administration and notice, and applicable taxes on the
    Settlement Fund, and any other related tax expenses, as approved by the Court,
         x      Money awards for the Settlement Class Representatives for their service on behalf
    of the Settlement Class, as approved by the Court, and


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 For the avoidance of doubt, the Columbia University “Officers” excluded from the Class are members of the
Senior Administration of Columbia University, and do not include exempt employees of Columbia University who
are referred to as officers.




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        x     Attorneys’ fees and reimbursement of expenses for Settlement Class Counsel, as
   approved by the Court (see Question 19 below for more information relating to attorneys’
   fees and other costs).
The money in this Settlement Fund less the three categories of costs described just above is the
Net Settlement Fund. The Net Settlement Fund will only be distributed to members of the
Settlement Class if the Court finally approves the Settlements and the plan for allocating the
monies in the Settlement Fund to members of the Settlement Class.
7.      How do I ask for money from these Settlements?
If you are a member of the Settlement Class, you must submit a valid and timely claim to get
money from the Settlement Fund during a process that will begin several months from now. If
the Court finally approves the Settlements, as part of the Court approved distribution and
allocation process, the Claims Administrator will distribute a Claim Form to complete to all
Settlement Class members, who do not exclude themselves from the Settlement Class, and for
which there are valid email or postal addresses. Members of the Settlement Class may also
contact the Claims Administrator or visit the Settlement Website if they do not receive a Claim
Form. The Claim Form will include the deadline for timely submission and instructions on how
to submit the Claim Form. Those Settlement Class Members who submit Claim Forms are called
Claimants. The Court will approve the plan of allocating the Net Settlement Fund amongst the
Claimants, and will set the schedule for that process, at the time that it decides whether or not to
approve the Settlements.
8.      How much money will I get?
At this time, it is not known precisely how much each member of the Settlement Class will
receive from the Net Settlement Fund or when payments will be made. The amount of your
payment, if any, will be determined by the Plan of Allocation proposed by Plaintiffs and to be
approved by the Court. The proposed Plan of Allocation can be summarized as follows:
First, the Claims Administrator would determine, for each Claimant, the number of years (or
fractions thereof) that the Claimant paid a Defendant University for the cost of attendance during
the Settlement Class Period. The Claims Administrator, on a Claimant-by-Claimant basis, would
then assign to each Claimant the average annual Net Price charged by that University for each
year the Claimant attended (or fraction thereof) based on publicly available aggregated pricing
data. The Net Price shall be defined for these purposes as the average price for tuition, room, and
board less the average amount of financial aid (not including loans). The Net Prices assigned for
each Claimant would be adjusted for fractions of years, where a student may not have attended
for an entire school year. The Claims Administrator would then sum the average Net Prices over
all the years for each Claimant, up to a maximum of four full academic years per Claimant. That
sum would be the numerator of each Claimant’s pro rata allocation computation.
Second, the Claims Administrator would add together all of the numerators for all Claimants,
and that sum would serve as the denominator.




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Third, the Claims Administrator would divide the numerator from the first step for each
Claimant by the denominator from the second step. That fraction would be the pro rata share for
each Claimant.
Fourth, and finally, to compute the total allocated sum for each Claimant, the Claims
Administrator would multiply the fraction from the third step for each Claimant by the Net
Settlement Fund, generating the dollar value of each Claimant’s total allocation from the Net
Settlement Fund.
The Claims Administrator will make decisions regarding claim submissions, including regarding
their validity and amounts, with input from Settlement Class Counsel and Settlement Class
Counsel’s consulting economic expert.
The parties have agreed to ask the Court to be permitted to donate any funds that remain in the
Net Settlement Fund after distribution to the Settlement Class to charitable causes that promote
access to higher education for disadvantaged students and families.
The complete proposed Plan of Allocation is available on the Settlement website,
www.FinancialAidAntitrustSettlement.com.
                                  HOW TO FILE A CLAIM
9.       How do I file a claim?
If the Court approves the Settlements (see “The Court’s Fairness Hearing” below), the Court will
at that time approve a Claim Form and set a deadline for members of the Settlement Class to
submit claims. At that time, to receive a payment, you must submit a Claim Form. The Claim
Form for Settlement Class members will be posted on the Settlement website and available by
calling the toll-free number 1-833-585-3338. Members of the Settlement Class will be able to
submit claims electronically using the Settlement website or by email or through first class mail.
A Claim Form will also be mailed to members of the Settlement Class for which the Claims
Administrator has valid and current addresses.
10.     Who decides the value of my claim?
After receiving your timely-submitted Claim Form, the Court-appointed Claims Administrator,
will make decisions about the value and validity of claims with input from Settlement Class
Counsel and Settlement Class Counsel’s consulting economic expert.
For the Claimants, the Claims Administrator will use publicly available average annual price of
tuition, fees, room, and board minus institutional grants (“Net Price”) charged by Defendants for
each applicable academic year to estimate each Claimant’s Net Price, and thus (using the method
set forth above) determine each Claimant’s pro rata share of the Net Settlement Fund.
Some companies may offer to help you file your Claim Form in exchange for a portion of
your recovery from the Settlements. While you may choose to use such companies, you
should know that you can file with the Claims Administrator on your own, free of charge.
Additionally, you are entitled to contact the Claims Administrator or Settlement Class




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Counsel for assistance with understanding and filing your Claim Form—again, at no cost
to you.
11.     Am I giving anything up by filing a claim or not filing a claim?
If you are a member of the Settlement Class and do not exclude yourself, you cannot sue,
continue to sue, or be part of any other lawsuit seeking recovery for the Released Claims against
Brown University, the University of Chicago, the Trustees of Columbia University in the City of
New York, Trustees of Dartmouth College, Duke University, Emory University, Northwestern
University, William Marsh Rice University, Vanderbilt University, and Yale University or
Releasees (defined below), even if you do not file a Claim Form. More specifically, staying in
the Settlement Class means you have agreed to be bound by the Settlement Agreements and their
terms including the release of claims contained therein. The Settlement Agreements are available
on the Settlement website, www.FinancialAidAntitrustSettlement.com. The claims released in
the Settlements are described below.
Specifically, the Settlement Agreements provide that the Releasees shall be completely released,
acquitted, and forever discharged from any and all claims, demands, actions, suits, causes of
action, damages, and liabilities, of any nature whatsoever, including costs, expenses, penalties
and attorneys’ fees, known or unknown, accrued or unaccrued, contingent or absolute, suspected
or unsuspected, in law equity, or otherwise, that Plaintiffs ever had, now have, or hereafter can,
shall or may have, directly, representatively, derivatively, as assignees or in any other capacity,
to the extent alleged in the Complaint or to the extent arising out of or relating to a common
nucleus of operative facts with those alleged in the Complaint that Plaintiffs have asserted or
could have asserted in the Action. For avoidance of doubt, claims between Class Members and
the Defendant Universities arising in the ordinary course and not relating to, arising from, or
sharing a common nucleus of operative facts with, the facts alleged in the Complaint (including
amendments), will not be released. The claims described as being released in this paragraph are
referred to herein as the “Released Claims.”
In addition, each Releasor (defined below) hereby expressly waives and releases, upon the
Effective Date, any and all provisions, rights, and/or benefits conferred by Section 1542 of the
California Civil Code, which reads:
       Section 1542. Release. A general release does not extend to claims that the
       creditor or releasing party does not know or suspect to exist in his or her favor at
       the time of executing the release and that, if known by him or her, would have
       materially affected his or her settlement with the debtor or released party;
or by any law of any state or territory of the United States, or principle of common law, which is
similar, comparable, or equivalent to Section 1542 of the California Civil Code, notwithstanding
that the release in Paragraph 13 of each of the Settlement Agreements is not a general release and
is of claims against Releasees only. Each Releasor may hereafter discover facts other than or
different from those which he, she, or it knows or believes to be true with respect to the claims
that are the subject matter of Paragraph 13. Nonetheless, upon the Effective Date (defined
below), each Releasor hereby expressly waives and fully, finally, and forever settles and releases




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any known or unknown, foreseen, or unforeseen, suspected or unsuspected, contingent or non-
contingent claim that is the subject matter of Paragraph 13, whether or not concealed or hidden,
without regard to the subsequent discovery or existence of such different or additional facts.
Each Releasor also hereby expressly waives and fully, finally, and forever settles, releases, and
discharges any and all claims it may have against the Releasees under § 17200, et seq., of the
California Business and Professions Code or any similar comparable or equivalent provision of
the law of any other state or territory of the United States or other jurisdiction, which claims are
expressly incorporated into the definition of the Released Claims.
“Effective Date” means the date on which all of the following have occurred: (i) the Settlement
is not terminated pursuant to Paragraphs 15 or 16 of each of the Settlement Agreements; (ii) the
Settlement is approved by the Court as required by Fed. R. Civ. P. 23(e); (iii) the Court enters a
final approval order; and (iv) the period to appeal the final approval order has expired and/or all
appeals have been finally resolved.
“Releasees” means the Settling Universities, the Boards of Trustees of the Settling Universities,
individually and collectively, and all of their present, future and former parent, subsidiary and
affiliated corporations and entities, the predecessors and successors in interest of any of them,
and each of the foregoing’s respective present, former and future officers, directors, trustees,
affiliates, employees, administrators, faculty members, students, agents, advisors,
representatives, volunteers, attorneys, outside counsel, predecessors, successors, heirs, devisees,
executors, conservators, and assigns.
“Releasors” means all Plaintiffs and Settlement Class Members, and those Plaintiffs’ and
Settlement Class Members’ agents, attorneys, representatives (and as applicable each of their
past, present, and future agents, attorneys, representatives, and all persons or entities that made
payments to the Universities or other Defendants on behalf of Plaintiffs and Settlement Class
Members), the predecessors, successors, heirs, executors, administrators, and representatives of
each of the foregoing.
The Scope and Effect of the Release: Upon the occurrence of the Effective Date, the Releasors
hereby release and forever discharge, and covenant not to sue the Releasees only, with respect to,
in connection with, or relating to any and all of the Released Claims.
12.     How do I exclude myself from the Settlement Class?
If you are a member of the Settlement Class, do not want to remain in the Settlement Class, and
do not want a payment from the Settlements, then you must take steps to exclude yourself from
the Settlements. This is sometimes referred to as “opting out” of a class. The Court will exclude
from the Settlements all members of the Settlement Class who submit valid and timely requests
for exclusion.
If you exclude yourself, you will not be able to receive any payments from these Settlements.
However, this is the only way you will retain your rights to sue Brown University, the University
of Chicago, the Trustees of Columbia University in the City of New York, Trustees of
Dartmouth College, Duke University, Emory University, Northwestern University, William




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Marsh Rice University, Vanderbilt University, and Yale University and the Releasees on your
own based on the Released Claims.
You can exclude yourself by sending a written “Request for Exclusion” to the Claims
Administrator. To be valid, your Request for Exclusion must be received by the Claims
Administrator no later than [DATE] to:
Claims Administrator
Financial Aid Antitrust Settlements
Attn: Exclusion Request
P.O. Box 58220
Philadelphia, PA 19102

Your Request for Exclusion must: (i) be in writing by mail (you cannot exclude yourself by
telephone or email); (ii) be signed by the person or entity holding the claim or by his, her or its
authorized representative; (iii) state the full name, address, and phone number of the
Universit(ies) you attended; (iv) include proof of membership in the Settlement Class; and (vi)
include a signed statement that “I/we hereby request I/we be excluded from the Brown, Chicago,
Columbia, Dartmouth, Duke, Emory, Northwestern, Rice, Vanderbilt and Yale Settlements in
Henry, et al. v. Brown University, et al., Case No. 1:22-cv-00125.”
13.    If I don’t exclude myself, can I sue Brown University, the University of Chicago, the
       Trustees of Columbia University in the City of New York, Trustees of Dartmouth
       College, Duke University, Emory University, Northwestern University, William
       Marsh Rice University, Vanderbilt University, and Yale University and the other
       Releasees for the same thing later?
No. Unless you exclude yourself, you give up any right to sue Brown University, the University
of Chicago, the Trustees of Columbia University in the City of New York, Trustees of
Dartmouth College, Duke University, Emory University, Northwestern University, William
Marsh Rice University, Vanderbilt University, and Yale University and the Releasees for the
Released Claims if you qualify for membership in the Settlement Class. If you decide to exclude
yourself, your decision will apply only to Brown University, the University of Chicago, the
Trustees of Columbia University in the City of New York, Trustees of Dartmouth College, Duke
University, Emory University, Northwestern University, William Marsh Rice University,
Vanderbilt University, and Yale University, and the other Releasees.
14.   If I exclude myself from the Settlement Class, can I get money from the
      Settlements?
No. You will not get any money from the Settlements if you exclude yourself.
15.     If I exclude myself from the Settlements, can I still object?
No. If you exclude yourself, you are no longer a member of the Settlement Class and may not
object to any aspect of the Settlements.
                           OBJECTING TO THE SETTLEMENTS




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16.     How do I tell the Court if I don’t like any aspect of the Settlements?
If you are a member of the Settlement Class (and don’t exclude yourself from that class), you can
object to any part or any one of the Settlements, the summary of the Plan of Allocation, and/or
the request for attorneys’ fees and litigation costs and expenses and/or the service awards
request.
To object, you must timely submit a letter that includes the following: (1) the name of the case
(Henry, et al. v. Brown University, et al., Case No. 1:22-cv-00125); (2) your name and address
and if represented by counsel, the name, address, and telephone number of your counsel; (3)
proof that you are a member of the Settlement Class; (4) a statement detailing your objections to
the Settlements with specificity and including your legal and factual bases for each objection;
and (5) a statement of whether you intend to appear at the Fairness Hearing, either with or
without counsel, and if with counsel, the name of your counsel who will attend.
You cannot make an objection by telephone or email. You must do so in writing and file your
objection with the Clerk of Court and mail your objection to the following address postmarked
by [DATE].
       Court
       United States District Court for the Northern District of Illinois
       Clerk of Court
       219 S. Dearborn Street
       Chicago, IL 60604

You must also send a copy of your Statement of Objections to the Claims Administrator at the
following address:
       Claims Administrator
       Financial Aid Antitrust Settlements
       Attn: Objections
       P.O. Box 58220
       Philadelphia, PA 19102

If you don’t timely and validly submit your objection, your view will not be considered by the
Court or any court on appeal.
17.    What is the difference between objecting and excluding?
Objecting is simply telling the Court that you don’t like something about the Settlements. You
can object to the Settlements only if you don’t exclude yourself from the Settlement Class.
Objecting does not change your ability to claim money from the Net Settlement Fund if the
Court approves the Settlements. If you exclude yourself, you cannot object because the
Settlements no longer affects your rights, and you cannot claim money from the Net Settlement
Fund.




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                          THE LAWYERS REPRESENTING YOU
18.     Do I have a lawyer in this lawsuit?
The Court has appointed the lawyers listed below to represent you. These lawyers are called
Settlement Class Counsel. Other lawyers have also worked with Settlement Class Counsel to
represent you in this case. Because you are a Settlement Class member, you do not have to pay
any of these lawyers. They will be paid from the Settlement Fund upon making an application to
the Court.
Edward J. Normand
FREEDMAN NORMAND FRIEDLAND LLP
99 Park Avenue
Suite 1910
New York, NY 10016
Tel: 646-970-7513
tnormand@fnf.law

Robert D. Gilbert
GILBERT LITIGATORS & COUNSELORS, P.C.
11 Broadway, Suite 615
New York, NY 10004
Phone: (646) 448-5269
rgilbert@gilbertlitigators.com

Eric L. Cramer
BERGER MONTAGUE PC
1818 Market Street, Suite 3600
Philadelphia, PA 19103
Tel: 215-875-3000
ecramer@bm.net

If you have any questions about the notice or the Action, you can contact the above-listed
Settlement Class Counsel.


19.    Should I hire my own lawyer?
You do not have to hire your own lawyer. But you can if you want to, at your own cost.
If you hire your own lawyer to appear in this case, you must tell the Court and send a copy of
your notice to Settlement Class Counsel at any of the addresses above.
20.    How will the lawyers for the Plaintiffs and Settlement Class be paid?
To date, Settlement Class Counsel have not been paid any attorneys’ fees or reimbursed for any
out-of-pocket costs or expenses that Settlement Class Counsel expended to litigate this case. Any
attorneys’ fees and costs and expenses will be awarded only as approved by the Court in amounts
determined to be fair and reasonable. By [DATE], Settlement Class Counsel will move for an




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award of attorneys’ fees not to exceed 1/3 of the Settlement Fund, plus any accrued interest,
reimbursement of litigation costs and expenses not to exceed $12,000,000 and service awards of
up to $20,000 for each of the eight Settlement Class Representatives to be paid out of the
Settlement Fund. If the Court grants Settlement Class Counsel’s requests, these amounts would
be deducted from the Settlement Fund. You will not have to pay these fees, expenses, and costs
out of your own pocket.
Any motions in support of the above requests will be available on the Settlement Website after
they are filed by [DATE]. After that time, if you wish to review the motion papers, you may do
so by viewing them at www.FinancialAidAntitrustSettlement.com.
The Court will consider the motion for attorneys’ fees and litigation costs and expenses, service
awards at or after the Fairness Hearing.
                            THE COURT’S FAIRNESS HEARING
21.    When and where will the Court decide whether to approve these Settlements,
       including the attorneys’ fees and costs motion and the Plan of Allocation?
There will be a Fairness Hearing held telephonically on [DATE] using call-in number 888-684-
8852, access code 746-1053.
Important! The time and date of the Fairness Hearing may change without additional mailed or
published notice. For updated information on the hearing, visit
www.FinancialAidAntitrustSettlement.com.
At the Fairness Hearing, the Court will consider whether the Settlements are fair, adequate, and
reasonable and should be approved. The Court will also decide whether it should give its final
approval of the Plaintiffs’ requests for attorneys’ fees and expenses, service awards to the
Settlement Class Representatives, and other costs. The Court will consider any objections and
listen to members of the Settlement Class who have asked to speak at the Fairness Hearing.
22.    Do I have to come to the Fairness Hearing to get my money?
No. You do not have to go to the Fairness Hearing, even if you sent the Court an objection. But
you can go to the hearing or hire a lawyer to go to the Fairness Hearing if you want to, at your
own expense.
23.  What if I want to speak at the Fairness Hearing?
You must file a Notice of Intention to Appear with the Court at this address:

United States District Court for the Northern District of Illinois
Clerk of Court
219 S. Dearborn Street
Chicago, IL 60604

Your Notice of Intention to Appear must be filed by [DATE]. You must also mail a copy of your
letter to Settlement Class Counsel at the addresses listed in the answer to Question 18. Your
Notice of Intention to Appear must be signed and: (i) state the name, address, and phone number




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of the University you attended and if applicable, the name, address, and telephone number of
your attorney (who must file a Notice of Appearance with the Court); and (ii) state that you (or if
applicable, your lawyer) intends to appear at the Fairness Hearing for the Settlements in Henry,
et al. v. Brown University, et al., Case No. 1:22-cv-00125.

                                    IF YOU DO NOTHING
24.     What happens if I do nothing?
If you do nothing, and if you fit the Settlement Class description, you will automatically be a
member of the Settlement Class. However, if you do not timely file a Claim Form at the
appropriate time later in the process, you will not receive any payment from the Settlements.
You will be bound by past and future rulings, including rulings on the Settlements, Released
Claims, and Releasees.
                             GETTING MORE INFORMATION
25.     How do I get more information?
This Notice summarizes the Action, the terms of the Settlements, and your rights and options in
connection with the Settlements. More details are in the Settlement Agreements, which are
available for your review at www.FinancialAidAntitrustSettlement.com. The Settlement Website
also has the Second Amended Complaint and other documents relating to the Settlements. You
may also call toll-free 1-833-585-3338 or write the Claims Administrator at: Financial Aid
Antitrust Settlements, c/o Claims Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA
19103.




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